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       Attorneys for Plaintiffs
   9
                               UNITED STATES DISTRICT COURT
  10
                          CENTRAL DISTRICT OF CALIFORNIA
  11
                                         WESTERN DIVISION
  12
       R.J. BEABER and A.W. CLARK,              2:21-cv-06558-MWF(KSx)
  13
                           Plaintiffs,
  14
                          v.                            STIPULATION TO
  15                                              BRIEFING/HEARING SCHEDULE
       SHIRLEY N. WEBER, as California             ON PLAINTIFFS' MOTION FOR
  16   Secretary of State,                               DECLARATORY
  17
                                                      RELIEF/PRELIMINARY
                                                    INJUNCTION, AND ORDER
  18
                           Defendants.                     THEREON

  19
                                                        Judge Michael W. Fitzgerald
  20
  21         Pertaining to plaintiffs' ex parte application for a briefing/hearing order on
  22   plaintiffs' motion for declaratory relief/preliminary injunction,
  23         IT HEREBY IS STIPULATED by and among the parties, as follows:
  24   //
  25   //
  26   //
  27   //
  28   //



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   1        1. Defendant's opposition or statement of non-opposition shall be filed on:
   2   August 24, 20021;
   3        2. Plaintiffs' reply, if any, shall be filed on August 26, 2021; and,
   4        3. The hearing shall be held on August 30, 2021.
   5                          YAGMAN + REICHMANN, LLP
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   7
                                  By:     /s/ Stephen Yagman
   8                                     STEPHEN YAGMAN
   9
                                    ROB BONTA
  10                       CALIFORNIA ATTORNEY GENERAL
  11
  12                               By:   /s/ John D. Echeverria
  13                                  JOHN D. ECHEVERRIA
                                       Deputy Attorney General
  14
                              Attorney for Defendant, California Secretary
  15                                 of State, Dr. Shirley Weber
  16
  17                                        ORDER
  18        IT IS SO ORDERED.
  19        Dated: August ___, 2021       _________________________________
  20                                           MICHAEL W. FITZGERALD
                                               United States District Judge
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